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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS
                CRIMINAL ACTION NO. 14-10363-RGS-13, 14

                       UNITED STATES OF AMERICA
                                       v.
                          CARLA R. CONIGLIARO,
                         DOUGLAS A. CONIGLIARO

                   MEMORANDUM AND ORDER ON
                  GOVERNMENT’S MOTION TO ALLOW
             VICTIM IMPACT STATEMENTS AT SENTENCING

                               August 18, 2016

STEARNS, D.J.

     In this motion, the government seeks permission to introduce victim

impact statements at defendants’ sentencing hearing. The motion will be

denied for the following reasons.

     First, as the government itself concedes, the victims the government

has in mind are not victims of any crime for which the defendants have been

convicted.1 As the government has acknowledged from the outset of the case

(and states again in its supporting memorandum), the Conigliaros were


     1 Each of the Conigliaros (husband and wife) pled guilty to a
Superseding Information charging one count of structuring currency
withdrawals from personal bank accounts. There is no allegation in the
Information that the structuring had any financial impact on the efforts of
the Bankruptcy Court to marshal funds to compensate the victims of the
meningitis outbreak.
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passive investors in New England Compounding Center (NECC) and had no

involvement in the compounding of drugs or the day-to-day operations of

NECC.

     Second, the Conigliaros pled guilty pursuant to plea agreements in

which the government bound itself to make a recommendation to the court

of a non-incarcerated sentence. While I am not suggesting this is the

government’s intent, presenting victim impact statements to the court at

sentencing would likely be construed as an implied effort to persuade the

court to reject the government’s recommendation and impose a harsher

sentence. This would have the effect of placing the government in the

ethically challenged position of implicitly undermining the position it bound

itself to advocate in the plea agreement. See United States v. Clark, 55 F.3d

9, 12 (1st Cir. 1995) (“[W]hen a plea rests in any significant degree on a

promise or agreement of the prosecutor, so that it can be said to be part of

the inducement or consideration, such promise must be fulfilled.”), quoting

Santobello v. New York, 404 U.S. 257, 262 (1971).

     And finally, the invitation to victims of the meningitis outbreak and

their relatives to express themselves in the context of this case is a

misdirection of the anguish and indignation that they no doubt genuinely

feel. This is not the forum for victim impact statements related to NECC’s


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alleged compounding malpractice. The court has made clear that it will not

sentence the Conigliaros for misdeeds for which they have no criminal

responsibility.

                                 ORDER

      For the foregoing reasons, the motion is DENIED.

                             SO ORDERED.

                             /s/ Richard G. Stearns
                             __________________________
                             UNITED STATES DISTRICT JUDGE




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